              Case: 3:22-cv-00257-wmc Document #: 14-1 Filed: 06/16/22 Page 1 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Western District of Wisconsin

                                                                     )
                                                                     )
                         l:'leru Spencer                             )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                V.   .                                       Civil Action No. 22-cv-257-wmc
                                                                     )
                                                                     )
                                                                     )
           The Church of Prismatic Light, et al.                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVD., ACTION

To: (Defendant's name and address)
                                           Tiffany Wait
                                           The Church of Prismatic Light
                                           6000 E Reno Ave.
                                           Midwest City, OK 73110



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attacheq complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                           Heru Spencer
                                           501 N: Henry St. #610
                                           Madison, WI 53703



                                                                                           ' demanded in the complaint.
          If you fail to respond, judgment by default will be entered against you for the relief
You also must file your answer or motion with the court.                            ·      ·



                                                                                CLERK OF COURT


Date:      06/16/2022
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       USM-285Case:   3:22-cv-00257-wmc
              is a 5-part form. Fill out the formDocument     #: 14-1 Sign
                                                  and print 5 copies.   Filed: 06/16/22
                                                                           as needed      Page
                                                                                     and route as2specified
                                                                                                   of 2 below.

  U.S. Department of Justice                                                             PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                         See "Instructions for Sen•ice of Process bv U.S. Afarshal"

   PLAINTIFF                                                                                                            COURT CASE NUMBER
   Het')J Spencer                                                                                                      22-cv-257-wmc
   DEFENDANT                                                                                                            TYPE OF PROCESS
   Tiffany ~ ait                                                                                                        CIVIL, summons and complaint
                       .NAME OF INDIVIDUAL, COMPANY, CORPORATION. ~TC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
       SERVE { Tiffany Wait
          AT ---,------,":-::-,:---,----,-:c.,..------,-,--------------------------------~
               ADDRESS {Street or RFD, Apanment No., City, State and ZIP Code)

                        6000 E Reno Ave, Midwest City, OK 73110
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number of process to be
                                                                                                                    served with this Fonn 285

                 ~ruSpencer                                                                                         Number of parties to be
                  501 N. Henry St. #610                                                                             served in this case           5
                  Madison, WI 53 703
                                                                                                                    Check" for service
                 L                                                                                                  on U.S.A.                     No

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL.ASSIST IN EXPEDITING S~RVICE (lqcl11de Business and Altemale Addresses.
       All Telephone Numbers, and Estimated Times Availablefor Service):
Fold                                                                                                                                                                  Fold

        Other possible address:
        1601 SW 41st ST. Oklahoma City,OK 73119-3723
        Phone nos. 409-877-3314,               ·
        817-268-0085, 405-834-1941

                                                                                         I&! PLAINTIFF           TELEPHONE NUMBER                  DATE

                                                                                         0   DEFENDANT           (608) 264-5156, press #1             6/16/22

                                                                            SHAL ONLY-- DO NOT WRITE BELOW Tms LINE
   l acknowledge receipt for the total     Total Process   District of      District to ·    Signature of Authorized USMS Deputy or Clerk                  Date
   number of process indicated.                            Origin           Serve
   (Sign only for USM 285 if more
   than one USM 285 is submilled}                          No. _ _          No. _ _

   I hereby certify and return that I D have personally served , D have legal evidence of service, 0 have executed as shown in "Remarks", the process described
   on the individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

   D      I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (ifnot shown above)                                                                 D   A person of suitable age and discretion
                                                                                                                               then residing in defendant's usual place
                                                                                                                               ofabode
   Address (complete only different tlian shown above)                                                                     Date                   Time
                                                                                                                                                                    Dam
                                                                                                                                                                    Opm
                                                                                                                           Signature of U.S. Marshal or Deputy


   Service Fee          Total Mileage Cliarges Forwarding Fee            Total Charges        Advance Deposits     Amount owed to U.S. Mrushal* or
                        including endeavors)                                                                       (Amowlt ofRetlmd•)

                                                                                                                                          $0.00
  -REMARKS:




   PRINTS COPIES:           I. CLERK OF THE COURT                                                                                        PRIOR EDITIONS MAY BE USED
                           2. USMS RECORD
                           3. NOTICE OF SERVICE
                           4. BILLING STATEMENT": To be returned to the U;s, Marshal with payment,
                              if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                             Form USM-285
                           5. ACKNOWLEDGMENT OF RECEIPT                                                                                                             Rev. 12/80
